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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                                         CASE NO.


 SHENZHEN Z TECH CO., LTD.,
           Plaintiﬀ,

 v.


 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE
 “A”,
             Defendants.
 ____________________________________________
                    COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

             Plaintiff, Shenzhen Z Tech Co., Ltd. (“Plaintiff”), by and through its undersigned attorney,

  hereby brings this design patent infringement action against the Partnerships and Unincorporated

  Associations identified on Schedule A attached hereto (collectively, “Defendants”) and alleges as

  follows:

                                                  INTRODUCTION

             1.      This action has been filed by Plaintiff in an attempt to combat e-commerce store

  operators who trade upon Plaintiff’s goodwill by offering for sale, selling, or importing into the U.S.

  for subsequent sale or use the same unauthorized and unlicensed products that infringe upon

  Plaintiff’s federally registered design patents for bathtub toys (the “Infringing Products”). Defendants

  attempt to circumvent and mitigate liability by operating under one or more seller aliases (the “Seller

  Aliases”) to conceal their identities and the full scope and interworking of their infringing activities.

  Defendants’ e-commerce stores1 operating under the Seller Aliases share unique identifiers, such as

  similar product images and specifications, establishing a logical relationship between them, suggesting

  that Defendants’ operation arises out of the same transaction, occurrence, or a series of transactions


 1 The e-commerce store urls are listed on Schedule A.

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  or occurrences.

          2.        Plaintiff has lost the control over its design patents and the right to exclude others

  from making, using, offering for sale, selling, or importing into the U.S. bathtub toys utilizing the

  design patents as a result of Defendants’ infringement. Plaintiff is the sole rightful assignee of the

  design patents and used to sell genuine products through its e-commerce stores. However, due to

  unfair competition and price erosion caused by Defendants’ infringement, Plaintiff has incurred great

  loss and had to stop selling genuine products. In addition, Plaintiff’s trademarked brand that it

  expended great money and effort to promote and market in connection with the products featuring

  its design patents has been diluted through consumer confusion caused by the unauthorized products

  offered by the Defendants. Because of substantial monetary loss and the damages to its brand, Plaintiff

  was almost left out without means to go after the infringers. Plaintiff has been and continues to be

  irreparably damaged by the infringement and seeks injunctive and monetary relief. In support of its

  claims, Plaintiff alleges as follows:

                                     JURISDICTION AND VENUE

          3.        This Court has subject matter jurisdiction over the claims in this action pursuant to 35

  U.S.C. § 1, et seq., 28 U.S.C §§ 1331 and 1338.

          4.        Defendants are subject to personal jurisdiction in this district, because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including this district through, at least, the Internet based e-commerce stores and fully interactive

  Internet websites accessible in this district and operating under their Seller Aliases. Alternatively,

  Defendants are subject to personal jurisdiction in this district pursuant to Federal Rule of Civil

  Procedure 4(k)(2), because (i) Defendants are not subject to jurisdiction in any state’s court of general

  jurisdiction; and (ii) exercising jurisdiction is consistent with the United States Constitution and laws.




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          5.      Venue is proper in this Court pursuant to 28 U.S.C § 1391 since Defendants are, upon

  information and belief, aliens who are engaged in infringing activities and causing harm within this

  district by making, using, offering for sale, selling, or importing Infringing Products into the U.S.

          6.      Joinder is proper in this matter pursuant to 28 U.S.C. § 299 as Plaintiff’s claim for relief

  arises out of the same transaction, occurrence, or series of transactions or occurrences related to the

  making, using, importing, offering for sale, and selling of the same infringing products. For example,

  the Infringing Products share identical infringing design. As such, common questions of fact exist in

  regard to all Defendants in terms of infringement and any likely counterclaims for noninfringement

  and/or invalidity of the asserted patent.

                                              THE PARTIES

  Plaintiff

          7.      Plaintiff is a Chinese corporation and the sole lawful right owner of all right, title, and

  interest in and to four U.S. Design Patents D987,736, D987,737, D987,738, and D1,009,183

  (“Asserted Patents”).

          8.      The design Patents were lawfully issued. Attached hereto as Exhibit 1 is a true and

  correct copy of the United States Patents for the Asserted Patents.

          9.      Plaintiff has been engaged in the design, distribution, marketing, offering for sale, and

  sale of bathtub toys on Amazon since March 2021 under its trademarked brand CIBOLAR. Attached

  hereto as Exhibit 2 is a true and correct copy of the trademark registration. The toys offered by Plaintiff

  embody and practice the Asserted Patents, and such Plaintiff’s products have been marked with the

  Asserted Patent number pursuant to 35 U.S.C. § 287 (a). Plaintiff’s products are well established on

  Amazon and enjoy quality customer review and high ratings. The design of the Asserted Patents is

  broadly recognized by consumers. Consumers always associate the trademarked brand CIBOLAR

  with plaintiff’s high-quality standard and distinctive designs. CIBOLAR is a valuable asset of Plaintiff.




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          10.     Plaintiff has not granted license or any other form of permission to any Defendant to

  use the Asserted Patents.

  Defendants

          11.     On information and belief, Defendants are individuals and business entities who own

  and operate one or more of the e-commerce stores under at least the Seller Aliases identified on

  Schedule A and/or other seller aliases not yet known to Plaintiff.

          12.     On information and belief, Defendants reside and/or operate in foreign jurisdictions

  with lax intellectual property enforcement systems or redistribute products from the same or similar

  sources in those locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil

  Procedure 17(b)(1).

          13.     On information and belief, Defendants, either individually or jointly, operate one or

  more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics are used

  by Defendants to conceal their identities and the full scope of their operation to make it virtually

  impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

  network. If Defendants provide additional credible information regarding their identities, Plaintiff will

  take the appropriate steps to amend the Complaint.

                              DEFENDANTS’ UNLAWFUL CONDUCT

          14.     The popularity of the Asserted Patents has resulted in significant infringement.

  Recently Plaintiff has identified numerous fully interactive e-commerce stores, including those

  operating under the Seller Aliases, which were/are offering for sale and are selling Infringing Products

  on online marketplace platforms such as Amazon.

          15.     Third-party service providers, such as, for example, Amazon, eBay, PayPal, etc., like

  those used by Defendants do not adequately subject new sellers to verification and confirmation of

  their identities allowing those misappropriating lawful intellectual property to routinely use false or

  inaccurate names and addresses when registering with these e-commerce platforms.

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         16.     Defendants concurrently employ and benefit from substantially similar advertising and

  marketing strategies. For example, Defendants facilitate sales by designing the e-commerce stores

  operating under the Seller Aliases so that they appear to unknowing consumers to be authorized online

  retailers. E-commerce stores operating under the Seller Aliases appear sophisticated and accept

  payment in U.S. dollars via credit cards, Alipay, Amazon Pay, and/or PayPal and others.

         17.     On information and belief, Defendants have engaged in fraudulent conduct when

  registering the Seller Aliases by providing false, misleading, and/or incomplete information to

  Internet-based e-commerce platforms. On information and belief, certain Defendants have

  anonymously registered and maintained Seller Aliases to prevent discovery of their true identities and

 the scope of their e-commerce operation.

         18.     On information and belief, Defendants regularly register or acquire new seller aliases

 to sell Infringing Products. Such seller alias registration patterns are one of many common tactics used

 by Defendants to conceal their identities and interworking of their operation and to avoid being shut

 down.

         19.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

 stores operating under the Seller Aliases often share unique identifiers, such as templates with

 common design elements that intentionally omit any contact information or other information for

 identifying Defendants or other seller aliases they operate or use.

         20.     On information and belief, Defendants are in constant communication with each other

  and regularly participate in WeChat and through websites such as sellerdefense.cn regarding tactics for

  operating multiple accounts, evading detection, pending litigation, and potential new lawsuits.

         21.     Defendants typically operate under multiple seller aliases and payment accounts so that

  they can continue operation despite Plaintiff’s enforcement efforts. On information and belief,

  Defendants maintain off-shore bank accounts and regularly move funds from their financial accounts

 to off-shore accounts outside the jurisdiction of this Court to avoid payment of any monetary


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  judgment awarded to Plaintiff.

             22.   On information and belief, Defendants are an interrelated group of e-commerce sellers

  misappropriating Plaintiff’s valuable intellectual property and working in active concert to offer for

 sale and sell Infringing Products in the same transaction, occurrence, or series of transactions or

 occurrences. Defendants, without any authorization or license from Plaintiff, have jointly and severally,

 knowingly, and willfully infringed the Asserted Patents.

             23.   Defendants’ infringing activities have caused Plaintiff irreparable harms including but

  not limited to loss of business opportunities, loss of future sales, loss of the right to exclude others

  from benefiting from the Asserted Patents, and the financial hardship in bringing this action.

                                             COUNT I
                         Patent Infringement of United States Design Patents
                                          (35 U.S.C. § 271)

          24.      Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in the

  preceding paragraphs.

          25.      Plaintiff is the sole lawful right owner of four valid and enforceable U.S. design patents.

          26.      Defendants are making, using, offering for sale, selling, and/or importing into United

  States for subsequent sale Infringing Products that infringe directly and/or indirectly the Asserted

  Patents.

          27.      Defendants have infringed the Asserted Patents through the aforesaid acts and will

  continue to do so unless enjoined by this Court. Defendants’ wrongful conduct has caused Plaintiff

  irreparable harm resulting from the loss of its patent rights to exclude others from benefiting from the

  Asserted Patents. Plaintiff is entitled to injunctive relief pursuant to 35 U.S.C. §283.

          28.      Plaintiff is entitled to recover damages adequate to compensate for the infringement,

  including defendants’ profits pursuant to 35 U.S.C. §289. Plaintiff is entitled to recover any other

  compensatory damages as appropriate pursuant to 35 U.S.C. §284.

                                          PRAYER FOR RELIEF


  COMPLAINT                                                                                               6
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  WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

         1)        That Defendants, their affiliates, officers, agents, servants, employees, attorneys, and

                   all persons acting for, with, by, through, under, or in active concert with them be

                   temporarily, preliminarily, and permanently enjoined and restrained from:

              a.       making, using, offering for sale, selling, and/or importing into United States for

                       subsequent sale or use Infringing Products;

              b.       aiding, abetting, contributing to, or otherwise assisting anyone in making, using,

                       offering for sale, selling, and/or importing into United States for subsequent sale

                       or use Infringing Products; and

              c.       effecting assignments or transfers, forming new entities or associations, or utilizing

                       any other device for the purpose of circumventing or other avoiding the

                       prohibitions set forth in Subparagraphs (a) and (b).

         2)        Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction,

                   including, without limitation, any online marketplace platforms such as, but not limited

                   to Amazon (collectively, the “Third Party Providers”) shall disable and cease displaying

                   any advertisements used by or associated with Defendants in connection with the sale

                   of the Infringing Products;

         3)        That Plaintiff be awarded such damages as it shall prove at trial against Defendants

                   that are adequate to compensate Plaintiff for Defendants’ infringement of the Asserted

                   Patents, but in no event less than a reasonable royalty, together with interest and costs,

                   pursuant to 35 U.S.C. § 284;

         4)        That the amount of damages awarded to Plaintiff to compensate Plaintiff for

                   infringement of the Asserted Patents be increased by three times the amount thereof,

                   as provided by 35 U.S.C. § 284;

         5)        Alternatively, that Plaintiff be awarded all profits realized by Defendants from

                   Defendants’ infringement of the Asserted Patents, pursuant to 35 U.S.C. § 289;
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         6)     Plaintiff is further entitled to recover its attorneys’ fees and full costs for bringing this

                action; and

         7)     Award any and all other relief that this Court deems just and proper.


  Dated: March 28, 2025                                   Respectfully submitted,


                                                          /s/Ni Sydney Xue
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